                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
 GLENN WASHINGTON                               *                  CIVIL ACTION

 VERSUS                                         *                  NO. 22-4054

 SAFEPOINT INSURANCE COMPANY                    *                  SECTION “G” (2)

                                   ORDER AND REASONS

       Defendant’s Motion to Compel (ECF No. 18) is pending before me in this matter. The

motion was scheduled for submission on Wednesday, October 18, 2023. As of this date, Plaintiff

has not filed an Opposition Memorandum, and the deadline for same expired on Tuesday, October

10, 2023. See E.D. La. L.R. 7.5.

       Defendant issued discovery on June 30, 2023. ECF No. 18-1 at 1; No. 18-2; No. 18-3. and

despite repeated requests, no responses have been provided. ECF No. 18-1 at 1-2.

       Having considered the record, the written submissions of counsel, the lack of Opposition

Memorandum, the applicable law, and finding that the motion has merit,

       IT IS ORDERED that the Motion to Compel (ECF No. 18) is GRANTED. This Order

reserves to Defendant the right to file an appropriate motion, with supporting documentation, to

recover fees and costs in incurred in filing the motion in accordance with FED. R. CIV. P. 37(a)(5).

       IT IS FURTHER ORDERED that, within 21 days, Plaintiff must provide full and complete

responses to the discovery requests.

       New Orleans, Louisiana, this 18th day of October, 2023.



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                                                         DONNA PHILLIPS CURRAULT
                                                     UNITED STATES MAGISTRATE JUDGE
